ATTACHMENT

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Bismillah

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
Civil Action No. 1:21-cv-305-MR-WCM

BROTHER T. HESED-EL, )
)
Plaintiff, )  PLAINTIFE’S BRIEF IN OPPOSTION TO
v. ) «DEFENDANTS? MOTION TO STRIKE
)  PLAINTIFF’S EXPERT WITNESSES”
ROBIN BRYSON, et ai., )
)
Defendants. j

NOW COMES Plaintiff Brother T. Hesed-El (“Plaintiff”) and respectfully opposes Robin
Bryson and Mission Hospital’s (collectively, “Defendants”) motion to strike Plaintiff's expert
witnesses (“motion”) [Doc. 159].

ARGUMENT

In Defendants’ motion, they argue that Sheik Johns El and Dr. Ryan Kaufman’s rebuttal
evidence should be stricken because they support Plaintiff's case-in-chief.' That argument is
fatally flawed for two reasons. First, Defendants are unable to cite any authority that would require
the Court to strike rebuttal evidence on that ground, Second, as stated in their reports, Sheik E] and
Dr. Kaufman’s rebuttals were offered to contradict, counteract, and repel specific opinions
included in Mark Botts and Dr. Eduardo Piqueras’s expert reports.’ Defendants’ also argue that

Sheik El and Dr. Kaufman’s reports exceeded a rebuttal. As explained below, Plaintiff disagrees.

1 Black’s Law Dictionary, 9th Edition, defines case-in-chief as “{1853) The
evidence presented at trial by a party between the time the party calls the
first witness and the time the party rests. The part of a trial in which a party
presents evidence to support the claim or defense. Cf. REBUTTAL”; rebuttal, n.
is defined as “(1830}) In-court contradiction of an adverse party’s evidence.
The time given to a party to present contradictory evidence or arguments. Cf.
CASE-IN-CHIEF”; and rebuttal witness is defined as “(1891) A witness who
contradicts or attempts to contradict evidence previously presented.”

2 Dr. Kaufman’s rebuttal evidence contradicts Dr. Piqueras’s report at p.19 1,
p. 20 4 11, p. 21 € 16, p. 22 9 18, p. 22-23 7 26-30, and p.24 9 32-34. Sheik
El’s rebuttal evidence counteracts and repels Mr. Botts’s report at pp. 7-8, Tf
15-16, and p. 12 1 26,

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Sheik El Directly Addressed the Opinions of Mr. Botts

In Mr. Botts’s report, he asserts his opinion that Plaintiff's i

gives the opinion that Plaintiff’ s decision to exercise his right to silence when asked for identifying
information by law enforcement and a. coupled with Plaintiff's claim that he had been
kidnapped, made if expected for i ee
All of Mr. Botts’s opinions called into question Plaintiffs cultural and religious beliefs, which
made it necessary for Plaintiff to call forth Sheik El, a person with actual knowledge on the subject.

In his report, Sheik El provided his rebuttal evidence to show that Plaintiffs a

le under the care of non-believers is a rational fear as per Surah 5 ayat
51 of the Quran. Sheik El showed that Plaintiff's religious beliefs were ii

ee with the teachings of the Holy Koran of the Moorish Science Temple of

America and Psalm 82:6, John 10:30, and Matthew 5:9 and 6:9. Sheik El disproved Mr. Botts’s
cited opinions and showed that Plaintiff in fact had a rational basis for his reluctance
Dr. Kanfinan Directly Addressed the Opinions of Dr. Piqueras

In Dr. Piqueras’s report, he goes to great length to opine how Bryson’s actions reflect the
same actions that would have been ke iii _
in North Carolma. He also went on to say that Bryson adhered to ail ethical standards, which is a
newly formed theory not included in Plaintiff's case-in chief. Dr. Piqueras also offered affirmative
evidence that Plaintiff claimed “he was God”, again a new theory not found anywhere in the record
except for his expert report. Dr. Piqueras ultimately opined that a “convergence of professional
opinions” underscored the validity of Bryson’s Yet again, anew theory by the defense.

In response, Dr. Kaufman provided his rebuttal opinion to contradict the opmuons of Dr.

Piqueras, and specifically stated so in his expert report. Dr. Kaufman’s opinion shows that

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Bryson’s actions do not reflect the actions of a North Carolina, that Bryson did not
adhere to all standards of practice, and that the so-called convergence of professional opinions was
actually a by-product of confirmation bias, a known and problematic issue in the field.
The Court Can Determine Whether Sheik El and Dr. Kaufman’s Reports Qualify as Rebuttals
“The United States Court of Appeals for the Fourth Circuit has not addressed how a court
should determine whether an expert witness qualifies as an affirmative or rebuttal witness.” Boles
v. United States, 1:13CV489, 4 (M.D.N.C. Apr. 1, 2015). However, the Middle District of North
Carolina does provide some guidance as to how this court can resolve this dispute. In Boles, the
Court compared the defendant’s expert reports with the plaintiffs expert reports to determine
whether the plaintiffs experts’ reports qualify as rebuttal. This court can do the same. As shown
in Docs. 160-1 and 160-2, the specific opinions of Mr. Botts and Dr. Piqueras that Plaintiff seeks
to refute are cited in the reports of Plaintiffs rebuttal experts. That should be sufficient information
to conduct a comparison given that the rebuttal experts’ reports are solely intended to contradict
and disprove those specific opinions of the defense.
The Rebuttal Evidence is Permissible Pursuant to Fourth Circuit Precedent
There is an undeniable nexus between said affirmative opinions and rebuttal opinions. For
example, the opinions of Dr. Piqueras and Mr. Botts converge on the narrative that based on an
interpretation of Plaintiff's medical records, Bryson’s i
naa was correct. Plaintiff seeks through his own rebuttal witnesses to challenge the
defendants’ evidence of a correct interpretation of the iz records by specifically showing
their opinions are incorrect and inconsistent with North Carolina’s accepted standard of care,

practice, and judgment. Such rebuttal evidence is permissible under Fourth Circuit precedent.?

3 Rebuttal evidence is defined as evidence “given to explain, repel, counteract,
or disprove facts given in evidence by the opposing party.” U.S. v. Stitt, 250
F.3d 878, 897 (4th Cir, 2001}; see also United States v. Curry, 512 F.2d 1293,
1305 (4th Cir. 1975) (holding that “{wjhere the prosecution seeks through its
own rebuttal witnesses to challenge the defendant's evidence of his own good
general reputation it is limited to showing his bad general reputation").

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There is Good Cause to Qualify Dr. Kaufinan and Sheik El as Affirmative Witnesses

In Defendants’ motion, they argue that sanctions should be imposed for Plaintiffs use of
rebuttal witnesses. However, Plaintiff has shown good cause for replacing Dr. Weiss as the
affirmative witness. Defendants do not dispute that Dr. Weiss had two back-to-back medical
emergencies which caused him to cancel his depositions and ultimately extricate himself from the
litigation all together. If “the experts' reports qualify as affirmative, then the Court inust determine
whether good cause exists for Plaintiff's violation of the scheduling order, and, if not, then identify
the appropriate sanction to impose for the untimely disclosure.” Boles v. United States,
1:13CV489, 3 (M.D.N.C. Apr. 1, 2015). . Plaintiff having to replace Dr, Weiss was the result of a
force majeure, and Plaintiff should not be penalized for that.* Plaintiff offered defendants’ counsel
to dpose Sheik E! after his report was filed, but defense counsel declined. Defense Counsel also
had an opportunity to depose Dr. Kaufman after his report was filed, but defense counsel did not
do so,

Executed this 18" day of Ramadan in the year 1445 A.H. with a “wet” signature, in full

compliance with FRCP Rule 11 and the Court’s Order.

Bro. T. Hesed-EI, Plaintiff pro se
c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801

Ph: (762) 333-2075 / teamwork3@gmail.com

4 By way of example and not limitation, force majeure events include..Actions
or inactions of third parties over which defendant has no control”. Chattooga
Conservancy, Inc. v. High Hampton Land, LLC, 1:21-cv-239-MR-WCM, 12-13
(W.D.N.C. Dec. 13, 2022)

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CERTIFICATE OF SERVICE

This certifies that a true and correct copy of foregoing has been sealed in an envelope with
sufficient postage affixed thereon, and deposited into the exclusive custody of the United States
Post Office, to ensure delivery to: Robin Bryson and Mission Hospital Inc.

% Attorney Daniel H. Walsh
ROBERTS & STEVENS, P.A.
Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-stevens.com

This 28" day of March in the Gregorian year 2024

Bro. T. TEP laintiff pro se
c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

BRO. T. HESED-EL,

Plaintiff, Civil Action No. 1:21-ev-305-MR-WCM

Vv.
ROBIN BRYSON, et al.,

Defendants.

AFFIDAVIT OF LEONARD J. WEISS

Personally appeared before the undersigned attesting officer duly authorized by law to
administer oaths, Leonard J. Weiss, M.D., who, after first being duly sworn, deposes and states as

follows:

1.1. My name is Leonard J. Weiss. 1 am a Doctor of Medicine (“M.D.”) licensed to practice in
the states of Ohio, Oklahoma, Texas, and Michigan. I am board certified by the American
Board of Psychiatry and Neurology in forensic psychiatry, psychiatry, addiction
psychiatry, and brain injury medicine, and by the American Board of Internal Medicine in
internal medicine. My medical career spans more than 40 years, including over 20 years as
a psychiatrist. 1 have conducted many thousands of psychiatric assessments and treated a

broad range of medical conditions, including those that overlap with psychiatric disorders.

1.2. Over the years of my profession, I have actively and regularly engaged in the field of
psychiatry and primary care medicine with sufficient frequency to establish an appropriate
level of knowledge in diagnosing and treating psychiatric and urgent care hospital events.
Between 1990-2020, I also engaged in the teaching of my profession with sufficient
frequency to establish an appropriate level of knowledge in teaching others to perform,

diagnose, and render treatment regarding the issues presented in this case. I am qualified

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L3.

1.4.

LS.

1.6.

LAF py. 2 of 10

to address the complicated relationship between mental illness, physical illness, allegations

of medical damages, and crossover treatment of multiple mental and physical conditions.

I have knowledge of the standard of care expected of a doctor, as well as the hospital staff
working with a said doctor, under the circumstances relevant to this case. Furthermore, I
am competent and of sound mind to testify to the standards being opined here. My
education, training, and experience in handling similar medical and psychiatric situations
on a regular basis have equipped me with the familiarity of the applicable standard of care
for the medical profession in such matters. Throughout my years of practice, I have been
licensed and qualified to perform the relevant care, procedures, and acts in question in this

Case.

Ihave reviewed North Carolina’s 2016 criteria for involuntary inpatient commitment, G.S.
§ 122C-3 and G.S. § 122C-263, and the medical records provided to me of the plaintiff,

Tagi Eyr Hhamul Hesed El a/k/a Bro T. Hesed-El (“Mr. El”), from Mission Hospital.'

Based upon my review of these statutes, medical records, and my experience, training,
education, knowledge, and skill, I have formed an opinion based on a reasonable degree of
medical certainty that the conduct of the medical providers at Mission Hospital constituted
one or more acts of negligence and deviated from that standard of care, which under similar

circumstances and conditions, is ordinarily employed by the medical profession generally.

I have based the above conclusion on the following facts, and those also contained in the

medical records cited above, which I incorporate here by reference.

! Please note that some of medical records were under a pseudonym, Taqi Lel Agabey and Taqi Elaga Bey, attributed
to Mr. El by the hospital apparently after reviewing his Facebook page. This discrepancy was taken into account in
the Court's unsealing and release of his medical records per Judge Scott’s 1/19/2019 ruling.

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LAW pe. Jof it

1.7. On September 20, 2016, at 1:48 pm EDT, Mr. ©] es

18 NE Mtr: REN nore indicated that

1.9. At2:10pm EDT on September 20, 20 6, On

1.10. At 2:58 pm EDT September 20, 2016, Kathleen Kerins,
entered a note that state:

1.11. At 8:40 pm EDT, September 20, 2016, Susan G Bryant, ME entered
anote that stated:
1.12. At 9:02 pm EDT, September 20, 2016, Mary Stirling Barlow, [nn

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1,13.

1,14.

1,15.

1.16.

1,17.

1.18.

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At 10:10 pm EDT, September 20, 2016, Robin F Bryson,

At 11:01 pm EDT, Ms, Bryson entered (Jaa

es hcsc I work on the major inhibitory neurotransmitter

system in the brain, gamma-aminobutyric acid (GABA). Their action results in a decrease

of excitation in the brain and spinal cord due to a suppression of neuronal firing.”

SS, <o : c! T
es ic liver metabolizes
a . It.is excreted in the urine, unchanged, and has a half-life of

3.4 to 9.2 hours. The time to peak serum is 2 hours.

I cot inn is clso being

studied in the treatment of nausea and vomiting caused by some cancer treatments. It is a

‘a
hes he

The onset of action is approximately 15 minuies, and the total duration of action is 8-12
hours, In cases of adverse effects, these can cause a disturbance in cognition, altering
the person’s mental state, slowing their response time, distorting their normal thought

processes, and cven affecting their memory. Some of the other documented side effects of

am kt he

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1,19.

1,20.

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the above combination are drowsiness, irritability, nervousness, headaches, mood changes,
confusion, agitation, trouble talking, uncontrollable eye movements, and difficulty
concentrating. Some people may also expericnce impairment in judgment and motor
coordination. J 2s a second dosage within 2 span of less than 7
hours could cause the side effects to become more intense and potentially dangerous. For
example, a “has a long and unpredictable half-life (ranging from 12 to 48 hours), and

noticeable effects are present for at least 24 hours after the last dose.”®

ee chart for Mr. BI, dated 9-20-16, indicated that he was
SS eco’: A
GEE indicating that Mr. | 4: 2:15 pm EDT.
SEE 6: 230 po: EDT, he ws, onc
from 2:45 pm EDT (o 10:15 pm EDT, is
7

From 10:15 pm to 10:45 pm EDT, MM) chart indicates that Mr. El
EEE Ms. Brys0v’s I By 11:00 pm EDT, Mr. EI
es ee

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121. GEE pvoviders deviated from the accepted standard of care in

multiple ways, which were negligent.

) TD (ccc I Mc. 1,
a. SS M1. 2! 2t 2:10 pm EST on 9/20/2016
after Mr. Herzog’s ES noc:

i. a based on this incident does not constitute
ee
as.

, A ce ocicinaly
showed that at 2:00 pm EDT, Mr. El
GE However, that appears to have been scratched
out without explanation and replaced with to indicate Mr.
| 215 po, A
GED staff indicated that Mr. 1
SE. | should be noted that
ES 20>

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LW py. 7 of Hb

(2) EE f2ited to intorm Mr. 21 of the risks and obtain his consent to

a. Michac! Eland Sollic, MM, entered the following note at
5:45 po EDT on 9/20/20 SS

i. ‘The stand fr

i. The sande ems
ES 5, RE shin
a Mr. El within the first hour a.

b. About 3 % hours later, Ms. Barlow
M2 A: ees

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(4) Ms. Bryson failed indicating that she i

(6) Ms. Bryson entered [EEEEnote stating that Mr. E!’s

a, The standard of care would have been for Ms, Bryson to

(7) Ms. Bryson alleged that Mr. El

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1.22,

1.23.

1,24,

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(8) Ms. Bryson failed to note at the completion iii that she provided

Mr, El with specific information regarding the next steps that would occur.

After interviewing Mr. El and understanding his culture, [iJnistory, and beliefs, it is

more likely than nt that Mr.
and a deviations from the accepted standard of care exacerbated the
tv EM. £1, cxusing aaa

I make this affidavit under oath after having been duly sworn and on the basis of my
education, training, and experience, The opinions based herein are based on the information
available to me at present. I may have additional or different opinions based on the
information I have reviewed or will review or on the information I have devcloped during
the course of this case. This affidavit is not intended to reflect all of my opinions or a

comprehensive review of all the issues.

I make this aflidavit in the capacity of an experl witness upon, among other things, personal
review and knowledge of the matter and materials referred to in this affidavit and about the

matters concerning which | am competent to testify. My affidavit is the product of reliable

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principles and methods applicable in the medical field, and I have applied these methods

reliably to the information available to me about this matter.

1.25. Iam of legal age and fully competent to testify to all matters contained herein and make
this affidavit for the purpose of being attached to and used in support of the plaintiff's

Complaint for medical malpractice and personal injuries.

Respectfully,

Lov] |

Leonard J. Weiss, M. D.

on this the / 9 day of

Subscribed and Swom to before me, on this the / Git... of Meni , Lp , 2023.

we PH
of \S Ae PAE
og

Min, Qs. Ab: at
see

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